Case 3:18-cv-00143-BJD-JRK Document 19 Filed 05/15/18 Page 1 of 1 PageID 66




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION

  MICHAEL HAUSER,

                             Plaintiff,

  vs.                                                        Case No. 3:18-cv-143-J-39JRK

  WESTLAKE SERVICES, LLC,

                        Defendant.
  ____________________________________/

                                          ORDER

        1.     The Joint Motion to Extend Mediation Deadline (Doc. No. 18), filed May 14,

  2018, is GRANTED.

        2.     The parties shall conduct mediation by July 19, 2018.

        3.     All other terms and deadlines set forth in the Case Management and Scheduling

  Order and Referral to Mediation (Doc. No. 13), entered April 6, 2018, shall remain intact.

        DONE AND ORDERED at Jacksonville, Florida on May 15, 2018.




  mdc
  Copies to:
  Counsel of Record
